              Case 7:19-cv-06051-CS Document 7 Filed 10/16/20 Page 1 of 1




 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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DANIEL DUARTE,

                                            Plaintiff,
                                                                             No. 19-CV-6051 (CS)
                 – against –
                                                                                  ORDER
A QUALITY PARTY & LINEN, INC., and SAMUEL
DANZIGER,

                                             Defendant.
-------------------------------------------------------------------------x

 Seibel, J.

          Defendants A Quality Party & Linen, Inc. and Samuel Danziger were each served with a

 copy of the summons and complaint on July 31, 2019 and August 7, 2019, respectively, (Docs.

 5-6), but there has been no activity since, and Plaintiff’s counsel has not responded to inquiries

 from chambers.

          Therefore, the case will be dismissed for failure to prosecute under Federal Rule of Civil

 Procedure 41(b) unless Plaintiff, by October 30, discontinues, seeks a default judgment in

 accordance with my Individual Practices, or takes other appropriate action.

 SO ORDERED.

 Dated: October 16, 2020
        White Plains, New York

                                                               ________________________________
                                                                     CATHY SEIBEL, U.S.D.J.
